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[Type text]                               U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      July 5, 2023
BY ECF AND EMAIL

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street
Daniel Patrick Moynihan U.S. Courthouse
New York, New York 10007

       Re:     United States v. Roger Thomas Clark, S2 15 Cr. 866 (SHS)

Dear Judge Stein:

        In advance of sentencing of defendant Roger Thomas Clark—which is scheduled for July
11, 2023, at 10:00 a.m.—the Government respectfully submits this brief supplemental letter with
information from the federal Bureau of Prisons (“BOP”). The BOP has reviewed Clark’s medical
conditions, as outlined in both the Final Revised Presentence Report dated November 2, 2022 (Dkt.
159) and Clark’s supplemental sentencing letter dated May 22, 2023 (Dkt. 174). The BOP has
confirmed that it is well-equipped to handle and address these conditions. See Ex. 1, p. 3 (July 5,
2023 letter from Dr. Diane Sommer, Regional Medical Director for the Northeast Region of the
Federal Bureau of Prisons (“Based on the information provided to me and my knowledge of the
BOP’s medical resources, the BOP will be able to provide appropriate care for Mr. Clark should
he be sentenced to a term of incarceration and committed to the custody of the BOP.”)). 1

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney
                                                      Southern District of New York

                                                By:                   /s/
                                                      Michael D. Neff / Vladislav Vainberg
                                                      Assistant United States Attorneys
                                                      (212) 637-2107/1029

cc:    Evan L. Lipton, Esq. (by ECF and email)
1
   Because the defense’s supplemental sentencing letter openly discusses Clark’s medical
conditions in a public filing (see, e.g., Dkt. 174-1, p. 13), the Government does not believe there
is a basis, at this point, to redact these conditions in the BOP’s attached letter.
